       Case 18-33318 Document 15 Filed in TXSB on 07/19/18 Page 1 of 3
     Case 18-33318       Document14         Filed in TXSB on 07/18/2018       Page 1 of3



                   IN TH E UN ITED STATES BANK RUPTC Y CO U RT
                     FO R THE SO UTH ER N DISTRICT O F TEX AS                                ENTERED
                                H O USTO N D IVISIO N                                        07/19/2018

 IN RE:
 S & S HEA VY H AU L,LLC ,
 Debtor.                                                  CaseN o.l8-33318


       AG REED O R DER REG AR DING M O TIO N O F G R EA T W EST
       CA SUA LTY    CO M PAN Y    A ND    HUB      IN TER NATIO NAL
       TRAN SPO RTATIO N INSUR ANC ES SER VICES, IN C. FO R RELIEF
       FROM j362 AUTOM ATIC STAY TO TERM INATE CERTAIN
       INSURANCE POLICIES (RE:DOCKET NO.11)

        On thisdatethe Courtconsidered the Motion (?/ GreatWestCasualty Company and
 H UB lnternatlbnal Transportatlbn lnsurances Services,Inc..for Reli
                                                                   qfjkom .
                                                                          (362Automatic
 Stay to Terminate Certal
                        'n Insurance Policies (DocketNo.l1) (the (iM otion to Lift Stay'')
 which was fsled herein by GreatW estCasualty Company (kiGW CC'')and HUB International
 Transportation lnsurances Services, Inc.

 contained the necessary notices and,according to the certificate of service therein,was served

 upon aIlpartiesentitled to notice. Based upon the agreem entofthe parties asevidenced by the

 signature of their respective counsel appearing below ,the Court is of the opinion that the

 follow ing A greed Ordershould be entered.

        IT IS TH ER EFO RE OR DERED TH AT :

              The M otion to LiftStay isgranted assetforth herein.
               Capitalized term s not defined herein shallhave the sam e m eaning as ascribed to
such term sin the M otion.

       3.     Theautomatic stay of11U.S.C.j362(a)ishereby lifted,annulled,and terminated
so that GW CC and HU B im m ediately m ay take any and allactions perm itted under the 20l8
Polices for com m ercial auto coverage-auto carrier, com m ercial inland m arine coverage-cargo
coverage, and com mercial general liability coverage and/or applicable law to enforce the
remediesofGW CC and/orHUB (asapplicable)based upon a defaultofoneormore monetary
obligations by the insured undersuch 2018 Policies.

AG REED O RDER REG ARDING M OTIO N O F FIRST CO LONY CHURCH OF CHRIST FO R RELIEF
FROM 9362 AUTOMATIC STAY REGARDING CONSTRUCTION GUARANTY CLAIM S AND
INSURANCE POLICIES (RE:DOCKET NO.48)- Page1of3 1467047'
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       Case 18-33318 Document 15 Filed in TXSB on 07/19/18 Page 2 of 3
    Case 18-33318        D ocum ent14     Filed in TXSB on 07/18/2018   Page 2 of3



       4.      The 14-day ofBankruptcy Rule400l(a)(3) isterminated,and the reliefprovided
in thisorder isim m ediately effective.




DATED :


                                           THE HON O RA BLE JEFF BO HM
                                           UN ITED STATES BAN KRUPTCY JUD GE




                                 kontinued on followinz pfœe/




A GREED O RDER REG ARDING M OTIO N O F FIRST COLONY CH URC H OF CHRIST FO R RELIEF
FROM j362 AUTOM ATIC STAY REGARDING CONSTRUCTION GUARANTY CLAIM S AND
INSURANCE POLICIES(RE:DOCKET NO.48)- Page2or3 1467047Tx'
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      Case 18-33318 Document 15 Filed in TXSB on 07/19/18 Page 3 of 3
    C ase 18-33318     D ocum ent14   Filed in TXSB on 07/18/2018     Page 3 of3



AG REED :



By: ,
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ATTO RNEYS FO R G REAT W EST C ASU ALTY
CO M PAN Y AND H UB INTERN ATIO N AL
TRANSPO RTATIO N INSURA NC ES SERVICES,
INC .


JA CK SON W A LKER L.L.P.

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AG REED O RDER REGA RDING M O TIO N O F FIRST CO LO NY CH URCH O F CH RIST FOR RELIEF
FROM j362 AUTOMATIC STAY REGARDING CONSTRUCTION GUARANTY CLAIM S AND
INSURANCE POLICIES (RE:DOCKET NO.48)- Page3of3 1467047TX'
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